
Tukley, J.
delivered the opinion of the court.
Barton W. Jenkins executed his note with the complain*302ant as his surety to Alexander H. Brown, the defendant, for the sum of $2424 37; upon which a judgment at law having been rendered, this bill of injunction is filed, asking relief upon the ground, that the money which formed the consideration of the notes, and which was lent Barton W. Jenkins, was not the money of the defendant, Alexander H. Brown, but of two slaves named John and Tom, who advanced the money to Brown to loan to Jenkins.
There is no .dispute but that the fact- is as thus stated;- that the money did belong to the two negroes, who were permitted by their owners to employ their own time, and acquire money for their own use, and that it was loaned by the defendant for their benefit. And it is now argued that in as much as a negro cannot by our laws acquire property for himself, or make contracts, that the note upon which the judgment at law was rendered against the complainant is void, and cannot be the subject matter of a suit at law.
It is unquestionably true, that a slave has no right to acquire and hold property or money; that he and every thing of his earning belongs to his master; and that he can make no contract which is obligatory upon himself, or the person contracted with. And if that were this case, we should find no difficulty in holding the doctrine contended for on the part of the complainant. But such is not this case. The proposition, that the negroes and their earnings belonged to their masters being granted, it necessarily follows that the money loaned belonged to them, and this money coming into the hands of Alexander H. Brown, was money had and received 'by him for them, and to whom he was and is responsible for the payment of the same. This being so, he is clearly entitled to recover it back from those to whom he loaned it, and in the absence of objection on the part of the masters, it does not lie in the mouths of the borrowers to object to the refunding the sum borrowed upon the ground that it was not the money of the lender, but of third persons.
We therefore affirm the decree of the Chancellor dismissing the bill.
